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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )             8:05CR186
                     Plaintiff,                    )
                                                   )
       vs.                                         )              ORDER
                                                   )
WILLIAM HANSEN,                                    )
                                                   )
                     Defendant.                    )
       This matter is before the court on the motion to continue trial by defendant William
Hansen (Hansen) (Filing No. 44). Hansen seeks a continuance of the trial of this matter.
Counsel for Hansen represents that Hansen will sign and file a waiver of speedy trial. Upon
consideration, the motion will be granted.


       IT IS ORDERED:
       1.     Hansen’s motion to continue trial (Filing No. 44) is granted.
       2.     Trial of this matter is re-scheduled for November 28, 2005, before Chief Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such motion
and outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between October 26, 2005
and November 28, 2005, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason that defendant's counsel requires
additional time to adequately prepare the case. The failure to grant additional time might
result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 26th day of October, 2005.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
